
In re Wyatt, Joe Louis; — Defendant; Applying For Writ of Certiorari and/or Review, Parish of Ouachita, 4th Judicial District Court Div. D, No. 44502; to the Court of Appeal, Second Circuit, No. 48,598-KH.
Denied. The decision in Miller v. Alabama, 567 U.S. -, 132 S.Ct. 2455, 183 L.Ed.2d 407 (2012) does not apply retroactively in relator’s case. See State v. Tate, 12-2763 (La.11/5/13), 130 So.3d 829, cert. denied, Tate v. Louisiana, — U.S. -, 134 S.Ct. 2663, 189 L.Ed.2d 214 (2014).
JOHNSON, C.J., would grant.
